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        Exhibit 36
    (Filed Under Seal)
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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS




In re EPIPEN (EPINEPHRINE                     CASE No. 2:17-md-2785
INJECTION, USP) MARKETING, SALES              CASE No. 2:17-cv-2452
PRACTICES AND ANTITRUST
LITIGATION

__________________________________

SANOFI-AVENTIS US, LLC,

     Plaintiff,

v.

MYLAN INC.; and
MYLAN SPECIALTY L.P.,

     Defendants.




                              EXPERT REPORT OF
                           THOMAS R. VARNER, PH.D.




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        I.      INTRODUCTION AND ASSIGNMENT

        1.      I am an Executive Vice President in the Oakland office of Compass Lexecon, an

economics consulting company with over 400 professionals and offices throughout the U.S.,

Europe, and Asia. I am submitting this expert report pursuant to Rule 26(a)(2)(B) of the Federal

Rules of Civil Procedure.1

        2.      I received a B.S. in Architecture from California Polytechnic State University,

San Luis Obispo, California, in 1979, an M.S. in Civil Engineering (Structural Engineering and

Structural Mechanics) from the University of California at Berkeley in 1980, an M.B.A. from the

University of California at Berkeley in 1987, an M.S. in Engineering-Economic Systems from

Stanford University in 1993, and a Ph.D. in Engineering-Economic Systems & Operations

Research from Stanford University in 1997.

        3.      I have taught microeconomics, econometrics, and financial economics courses in

the Economics Department at the University of California at Davis. I specialize in economic,

financial, and statistical analysis.

        4.      For over ten years, I have served as a consulting or testifying expert on legal

matters including intellectual property, Lanham Act claims, antitrust, and general business

litigation. I have conducted extensive research into license agreements and have published

articles in this and related areas. I also have spoken at professional conferences and seminars on

intellectual property and technology licensing. I am a member of the American Economic




1
 Federal Rules of Civil Procedure (FRCP), Rule 26. Duty to Disclose; General Provisions Governing
Discovery, (a) Required Disclosures, (2) Disclosure of Expert Testimony, (B) Witnesses Who Must
Provide a Written Report.

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Association, the National Association of Business Economics, and the Licensing Executives

Society. My hourly rate is $825. Details of my qualifications and prior testimony are in my

curriculum vitae, Appendix A.

          5.      Sanofi-Aventis U.S. LLC (“Sanofi” or “the Plaintiff”) alleges that Mylan Inc. and

Mylan Specialty L.P. (collectively, “Mylan” or “the Defendants”) engaged in anticompetitive

conduct related to the sale of its epinephrine auto-injector (“EAI”) product EpiPen® Auto-

Injector.2 Mylan denies those allegations and, in its capacity as “the Counterclaim Plaintiff,”

alleges, among other claims, that Sanofi (“the Counterclaim Defendant”) made false and

misleading representations in violation of the Lanham Act about its EAI product, Auvi-Q®, and

Mylan’s EpiPen® Auto-Injector, and that Sanofi engaged in common law unfair competition.3

          6.      I have been retained by the law firm Robbins, Russell, Englert, Orseck,

Untereiner & Sauber LLP, counsel for Mylan, and have been asked for purposes of this report to

analyze and offer an opinion as to the appropriate amount of damages assuming the Court finds

that Sanofi made the false and misleading representations asserted by Mylan in violation of the

Lanham Act.

          7.      In reaching my opinions I reviewed legal pleadings, numerous documents

produced by the parties, and publicly available documents. Appendix B is a list of materials I



2
    Complaint, 4/24/17, (“Sanofi Complaint”) ¶1, p. 1.
3
  Answer, Affirmative Defenses, and Counterclaims of Mylan Inc. and Mylan Specialty L.P., 1/16/18,
(“Mylan’s Counterclaim Complaint”) alleging: that Sanofi made false and misleading statements that
Auvi Q is equivalent to the EpiPen Auto-Injector (pp. 40-41); that Sanofi made unsubstantiated and
misleading claims designed to disparage the EpiPen Auto-Injector and harm its reputation (i.
Misrepresentations that patients do not carry or know how to use their auto-injectors, ii.
Misrepresentations about patient satisfaction with Auvi-Q, iii. Misleading claims regarding needlestick
protection, and iv. Misleading statements regarding heat tolerance) (pp. 41-47); and that Sanofi engaged
in other unfair and unlawful conduct (pp. 47-48)).

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have considered in this matter. I also have spoken with Mr. Patrick Zinn, Mylan’s Head of

Commercial Finance for North America,4 Mr. Chris Benson,5 Mylan’s Head of Supply Chain for

Biologics and Respiratory Products, and Mr. Roger Graham, Mylan’s Head of Health

Management.6

            8.   I have no opinion regarding the truth of Mylan’s allegations that Sanofi made

false and misleading representations about the EpiPen® Auto-Injector and Auvi-Q® products.

However, I have been asked by counsel for Mylan to assume for purposes of my damages

analysis that the Court finds these allegations to be true.

            9.   I understand that if Sanofi is found to have violated the Lanham Act and common

law fraud as Mylan alleges, Mylan is entitled, among other things, “to recover (1) defendant’s

profits, (2) any damages sustained by the plaintiff, and (3) the costs of the action….”7 I also

understand that Mylan has the burden of demonstrating Sanofi’s Auvi-Q® sales while it is the

burden of Sanofi to identify sales attributable to Sanofi’s alleged wrongful acts and to “prove all

elements of cost or deduction claimed.”8




4
 Phone interviews with Mr. Patrick Zinn, Mylan’s Head of Commercial Finance, 1/18/19 and 1/28/19.
See Deposition of Patrick Zinn, 8/22/18, Non-30(b)(6), p. 13, Mr. Zinn was previously Head of
Commercial Finance for Mylan Specialty, then promoted to Head of Commercial Finance for North
America.
5
 Phone interview with Mr. Chris Benson, Mylan’s Head of Supply Chain for Biologics and Respiratory
Products, 1/25/19.
6
 Phone interview with Mr. Roger Graham, currently Mylan’s Head of Health Management and formerly
President of Mylan Specialty L.P.
7
  15 U.S.C. §1117 (Section 35 of the Lanham Act): Recovery for Violation of Rights. §1117 refers to
§1125(a), which relates to the claims made by the Counterclaim Plaintiff.
8
    Ibid.

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          10.    My opinions are based on the above materials and discussions, my analysis in this

matter, and my professional experience. This report reflects my opinions at the present time. I

may revise or supplement my opinions after I review other expert reports submitted in this

matter, additional documents, testimony, or other information that comes to my attention.

          II.    SUMMARY OF OPINIONS

          11.    The scope of this report addresses Mylan’s allegations that Sanofi made false and

misleading representations in relation to marketing of its Auvi-Q® auto-injector product.9 For

purposes of my damages analysis, I have assumed that these allegations are found by the Court

to be true. I understand that Mylan has the burden of demonstrating Sanofi’s Auvi-Q® sales and

that it is the burden of Sanofi to identify sales attributable to Sanofi’s alleged wrongful acts and

to “prove all elements of cost or deduction claimed.”10 Consequently, I present Sanofi’s gross

sales of its Auvi-Q® device from 2013 to 2015 and calculate Mylan’s lost profit damages

assuming Auvi-Q® is not sold over this period.

          12.    Exhibit 1 summarizes unjust enrichment damages comprised of Sanofi’s Auvi-

Q® gross sales of                                     . Exhibit 1 also summarizes Mylan’s lost

profit damages of                                                            .

          13.    Regarding additional damages for Mylan’s legal costs permitted under the

Lanham Act, since the case is ongoing, I will submit a summary of Mylan’s costs related to

Mylan’s claims in this litigation when that information is available.




9
    Mylan’s Counter Complaint, pp. 33-54.
10
  15 U.S.C. §1117 (Section 35 of the Lanham Act): Recovery for Violation of Rights. §1117 refers to
§1125(a), which relates to the claims made by the Counterclaim Plaintiff.

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          III.      BACKGROUND

                 A. Epinephrine Auto-Injector (EAI) Devices

          14.       Epinephrine, also known as adrenaline, is approved by the U.S. Food and Drug

Administration (“FDA”) for use as an emergency treatment of allergic reactions, including

anaphylaxis.11 Epinephrine can be administered with a syringe or an epinephrine auto-injector

(EAI) device. One of the earliest commercially available EAI device was the EpiPen® Auto-

Injector.12 Mylan’s EpiPen® Auto-Injector received FDA approval December 22, 1987 and is

sold as EpiPen® Auto-Injector (0.30 mg dose) and EpiPen Jr.® Auto-Injector (0.15 mg dose).13

          15.       The alleged wrongful conduct occurred when Sanofi’s Auvi-Q® device was sold

from 2013 to October 2015. Sanofi’s Auvi-Q® received FDA approval August 10, 2012,14 was

launched for sale the end of January 2013,15 and was recalled on October 28, 2015.16




11
  https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationfor
PatientsandProviders/UCM564405.pdf, accessed 1/25/19.
12
  https://www.fda.gov/downloads/drugs/informationondrugs/ucm520800.pdf, accessed 1/25/19. From
FDA Orange Book. (The FDA Orange Book is the FDA’s “The publication Approved Drug Products
with Therapeutic Equivalence Evaluations (commonly known as the Orange Book) identifies drug
products approved on the basis of safety and effectiveness by the Food and Drug Administration (FDA)
under the Federal Food, Drug, and Cosmetic Act (the Act) and related patent and exclusivity information.
See https://www.fda.gov/drugs/informationondrugs/ucm129662.htm.)
13
 Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations, Product Details for
NDA 019430, https://www.accessdata.fda.gov/scripts/Cder/ob/results product.cfm?
Appl Type=N&Appl No=019430#, accessed 1/30/19.
14
 Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations, Product Details for
NDA 201739, https://www.accessdata.fda.gov/scripts/Cder/ob/results product.cfm?
Appl Type=N&Appl No=201739#, accessed 1/30/19.
15
     Sanofi form 20-F for 2013, p. 32, submitted to the SEC 3/7/14.
16
  https://www.sanofi.us/en/products-and-resources/auvi-q-epinephrine-injection-usp-recall/, accessed
1/26/19.

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        16.      There were other EAIs for sale between 2013 and 2015Amedra received FDA

approval for its Adrenaclick® on November 25, 2009.17 The Adrenaclick® and Adrenaclick’s

authorized generic (“AG”) were relaunched by Amedra and Lineage Therapeutics, Inc., June 14,

2013 (Amedra was acquired by Impax in 2015.18) Amedra Pharmaceuticals LLC’s (“Amedra’s”)

Twinject also received FDA approval May 2003 but it was withdrawn from sale in 2012.

        17.      Mylan launched an authorized generic version of the EpiPen® Auto-Injector in

mid-December 2016,19 and in August 2018 the FDA approved a generic EAI device from Teva

Pharmaceuticals.20

              B. The Parties-in-Suit

                     i. Mylan

        18.      Mylan’s 2017 annual report, submitted to the U.S. Securities and Exchange

Commission (“SEC”), states that it is “a leading global pharmaceutical company, which

develops, licenses, manufactures, markets and distributes generics, branded generics, brand name




17
 Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations, Product Details for
NDA 020800, https://www.accessdata.fda.gov/scripts/Cder/ob/results product.cfm?
Appl Type=N&Appl No=020800, accessed 1/30/19.
18
  Amedra Pharmaceuticals Markets Adrenaclick Auto-Injector, 6/14/2013 [MYEP00265212]; Linear
Therapeutics Markets Authorized Generic Epinephrine Auto-Injector, 6/14/2013 [MYEP00742658].
Impax Laboratories, LLC, acquired Amedra Pharmaceuticals in March 2015. See
https://investors.impaxlabs.com/news/press-releases/press-release-details/2015/Impax-Completes-
Acquisition-Of-Tower-Holdings-Inc-And-Lineage-Therapeutics-Inc/default.aspx
19
 “Mylan Launches the First Generic for EpiPen® (epinephrine injection, USP) Auto-Injector as an
Authorized Generic,” 12/16/16 [MYEP00001440-45].
20
  “FDA approves first generic version of EpiPen,” 8/16/18, https://www.fda.gov/newsevents/newsroom/
pressannouncements/ucm617173.htm, accessed 1/26/19.

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often based on the discounts from the average wholesale price (“AWP”).37 PBMs also can

contract with pharmaceutical manufacturers to negotiate discounts and rebates on the products

they purchase.38

           25.      Mylan provides EAI devices free of charge to certain customers (referred to as

“Grant and Donation Customers” in Mylan sales data). These sales comprise                 doses sold

over the period January 2013 to October 2015.39 Mylan and Sanofi also sometimes provided

coupons that further reduce the price of their devices.40

           26.      Both Mylan and Sanofi provided gross sales data and net sales data reflecting the

rebates, chargebacks, coupons, and other discounts of its EAI products. These different sales

amounts are indicated as “gross sales” and “net sales” in the exhibits to this report.

           27.      A third-party data vendor, IMS Health,41 provides sales data on a wide range of

pharmaceutical products, including EAI devices, at different stages in the pharmaceutical supply




37
  Ibid., p. 4. Also see Deposition of Bryan Downey (Sanofi’s Brand Lead for Auvi-Q) 30(b)(6), pp. 256-
257, “…the financial discounts are your rebates, your customer advantages are in your co-pay cards, and
other advantages you offer outside of that, and I believe commercial discounts would be things like
prompt pay, you know, if you pay within 30 days, you get a 2 percent discount at the wholesaler, other
incentives like that.”
38
     Ibid., p. 5.
39


40
     E.g., Sanofi Auvi-Q Savings Card Program Slide [SAN-EPI-0246125].
41
  IMS Health merged with Quintiles in 2016 to form QuintilesIMS. QuintilesIMS was renamed
“IQVIA” in 2017. See https://www.businesswire.com/news/home/20171106005380/en/QuintilesIMS-
IQVIA and https://ir.iqvia.com/investors/press-releases/press-release-details/2016/IMS-Health-and-
Quintiles-to-Merge/default.aspx.

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chain. I rely on IMS Health’s National Prescription Audit (“NPA”) to determine the number of

dispensed prescriptions for EAI products over the relevant time periods.42

                D. Mylan’s Counterclaim Allegations

          28.      Mylan alleges that Sanofi made false and misleading representations about the

EpiPen® Auto-Injector and Auvi-Q® products including:

          (i) the EpiPen Auto-Injector is no longer on the market, Auvi-Q is the “new
          EpiPen,” or Auvi-Q is replacing the EpiPen Auto-Injector; (ii) the EpiPen Auto-
          Injector and Auvi-Q are bioequivalent and/or therapeutically interchangeable; (iii)
          Auvi-Q is superior to and preferred by more physicians and patients than the EpiPen
          Auto-Injector; (iv) prior to Auvi-Q, patients did not carry and/or know how to use
          their epinephrine auto-injectors; (v) Auvi-Q is the only epinephrine auto-injector to
          have needlestick protection or that patients feared injection with the EpiPen Auto-
          Injector; and (vi) Auvi-Q can withstand higher temperatures than the EpiPen Auto-
          Injector.43

          29.      Mylan also alleges that Sanofi disposed of EpiPen® Auto-Injector informational

and promotional materials distributed to physicians’ offices and replaced them with Auvi-Q®

promotional materials.44 Mylan also alleges that Sanofi offered illegal kickbacks to physicians to

increase Auvi-Q® sales.45

          30.      Sanofi denies Mylan’s allegations; however, Sanofi admitted that the FDA

“assigned a ‘BX’ rating to Auvi-Q in the Orange Book,” and that a BX rating is “insufficient to




42
  IMS presentation, “Appropriate Use of IMS Information,” 11/12/09, p. 8, NPA database provides
“National estimates of prescriptions, or the rate at which drugs move out of the pharmacy and into the
hands of a consumer via formal dispensed prescriptions.”
43
     Mylan’s Counter Complaint, 1/16/18, ¶ 68, pp. 49-50.
44
     Mylan’s Counter Complaint, 1/16/18, pp. 47-48.
45
     Mylan’s Counter Complaint, 1/16/18, pp. 47-48.

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             IV.      ANALYSIS AND OPINIONS

                   A. Introduction: Damages Methodologies and Analyses

             31.      I have been asked by counsel for Mylan to calculate the economic damages to

Mylan resulting from the claimed false and misleading representations made by Sanofi. I

understand that if the Court determines that Mylan’s allegations about Sanofi’s alleged false and

misleading representations are true then Mylan is entitled, among other things, “to recover (1)

defendant’s profits, (2) any damages sustained by the plaintiff, and (3) the costs of the

action….”51 I also understand that under the Lanham Act the Counterclaim Plaintiff (Mylan) is

required to prove the Counterclaim Defendant’s (Sanofi’s) sales, and it is the burden of the

Counterclaim Defendant to prove all elements of cost or deduction claimed.52 I also understand

that it is the burden of the Counterclaim Defendant to determine the amount of sales attributable

to the claimed false and misleading representations made by the Counterclaim Defendant.

                   B. Unjust Enrichment Damages

             32.      Unjust enrichment damages are the amount of profits earned by the defendant due

to the alleged false and misleading representations. Sanofi provided sales data of its Auvi-Q®

product covering the period January 18, 2013 to October 22, 2015. Exhibit 2.1 is a summary of

Sanofi’s Auvi-Q® Auto-Injector sales to wholesalers of its 0.15 mg and 0.30 mg products. I

provide a summary of sales ($), units sold (the Auvi-Q® is sold in packages containing two EAI

devices along with a trainer device), doses (consisting of one dose per EAI device), and




51
  15 U.S.C. §1117 (Section 35 of the Lanham Act): Recovery for Violation of Rights. §1117 refers to
§1125(a), which relates to the claims made by the Counterclaim Plaintiffs.
52
     Ibid.

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calculated average sales price per dose. Exhibit 2.1 shows that



              C. Mylan’s EpiPen® Auto-Injector Lost Profits from Sanofi’s Wrongful Sales of
                 Auvi-Q®

        33.      In calculating Mylan’s lost profits: (i) I assume that all Sanofi’s Auvi-Q® sales

were sold as a result of the alleged false and misleading representations made by Sanofi (I

understand that under the Lanham Act it is the burden of the defendant to identify and apportion

those sales that are attributable to the false and misleading representations); (ii) I calculate the

percentage of those sales that Mylan would have made but-for the false and misleading

representations; (iii) I determine how many of those sales Mylan had the capacity to make; (iv) I

calculate Mylan’s incremental profit margin on these sales; and (v) I calculate Mylan’s lost

profits on those lost sales.

                               1. Calculation of Sanofi’s Auvi-Q® sales due to the alleged false
                                  and misleading representations

        34.      In accordance with the provisions of the Lanham Act, I assume that all of Sanofi’s

Auvi-Q® sales are sold as a result of the false and misleading representations made by Sanofi.

Sanofi had Auvi-Q® gross sales of

        Exhibit 1.1 summarizes the accused gross sales in dollars and doses.

                               2. Calculation of Mylan’s percentage of Auvi-Q®’s sales

        35.      The “but-for” scenario for my analysis is that Sanofi would not have made its

Auvi-Q® sales if Sanofi had not made the alleged false and misleading representations. Using

Sanofi’s contention, those Auvi-Q® sales that Sanofi would not have made in the but-for




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scenario would have been allocated to all remaining firms selling FDA approved EAI products

over the period in which Sanofi made its Auvi-Q® sales.53

           36.     I describe in Section III.A. above the different EAI products being sold in the U.S.

over the period 2013 to 2015. These products include the EpiPen® Auto-Injector, the Auvi-Q®,

and the Impax Generic (formerly Amedra’s Adrenaclick® Generic). Exhibits 6.1 and 6.2 are a

summary of the EAI products sold in the U.S. If Sanofi Auvi-Q® sales are reallocated to the

other EAI manufacturers, then Mylan would have made the sales calculated in Exhibit 6.3.

Exhibit 1.1 summarizes the amount of sales Mylan lost due to Sanofi’s alleged false and

misleading representations. Exhibit 1.1 shows that Mylan would have made

additional sales as measured by doses, that is, Mylan’s lost sales due to Sanofi’s alleged false and

misleading representations was                  doses.

           37.     Exhibit 8.1 is a summary of EpiPen® Auto-Injector and Auvi-Q net sales price

per dose.




                               3. Analysis of Mylan’s ability to make additional EpiPen® Auto-
                                  Injector sales

           38.




53
     Sanofi Complaint, 4/24/17, p. 56, ¶ 119.
54
     Phone interview with Mr. Chris Benson, 1/25/19.

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                              4. Analysis of Mylan’s incremental profit margin

          43.      Exhibit 5.3 is an analysis of Mylan’s incremental profit margin on additional sales

of its EpiPen® Auto-Injector over the period 2010 to 2016. I use statistical regression

methodology to compare the costs and expenses in Mylan’s financial statement for the EpiPen®

Auto-Injector with its net sales.62 I find that Mylan’s incremental profit margin is             of its

net sales. This margin does not account for research and development expenses (R&D

expenses).                                                                       so I use Mylan’s

average firmwide R&D expenses as a percent of firmwide revenues over the years 2013 through

2015,           , as an estimate of R&D expenses for EpiPen® Auto-Injector, to arrive at a total

incremental profit margin of

                              5. Analysis of Mylan’s lost profits from lost sales

          44.      I calculate Mylan’s lost profits from lost sales as the sales lost by Mylan due to

Sanofi’s alleged false and misleading representations multiplied by Mylan’s incremental profit

margin. Exhibit 1.1 shows that



                D. Prejudgment Interest

          45.      I understand from counsel that the Court may at its discretion award the

Counterclaim Plaintiffs prejudgment interest on damages that have accrued over time. If asked

to do so I will provide such analysis using established methodologies.




62
   Statistical regression analysis is an established and widely accepted methodology to analyze trends in
financial data. E.g., see Reference Manual on Scientific Evidence, Third Edition, Federal Judicial Center,
“Reference Guide on Statistics,” David H. Kaye and David A. Freedman.
63
     Phone interview with Mr. Patrick Zinn, 1/28/19.

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                                        APPENDIX A
                                     CURRICULUM VITAE

                                Thomas R. Varner, Ph.D.


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                      1111 Broadway, Suite 1500
                      Oakland, CA 94607
                      510.285.1218 direct, 510.285.1245 fax
                      E‐mail: tvarner@compasslexecon.com


EDUCATION

1992 – 1997, M.S. in Engineering-Economic Systems and Ph.D. in Engineering-Economic
       Systems & Operations Research, Stanford University, Stanford, CA
1980 & 1987, M.S. in Civil Engineering and MBA, University of California, Berkeley, CA
1975 – 1979, B.S. in Architecture with Honors, California Polytechnic State University, San Luis
       Obispo, CA


PROFESSIONAL EXPERIENCE

January 2016 – Present, Executive Vice President, Compass Lexecon, Oakland, CA
April 2010 – January 2016, Senior Vice President, Economists Incorporated, San Francisco, CA
January 2002 – April 2010, Principal, Cornerstone Research, Inc., San Francisco, CA
January 2004 – March 2005, Lecturer (Economics and Finance), Economics Department,
       University of California, Davis, CA
April 2001 – November 2001, Manager (Financial Advisory Services), PricewaterhouseCoopers
       LLP, San Francisco, CA
September 1997 – April 2001, Managing Director, Investment & Risk Analytics, Inc., Lafayette,
       CA
September 1994 – September 1997, Consulting Researcher (Valuation of Financial Instruments),
       Prof. Darrell Duffie, Graduate School of Business, Stanford University, Palo Alto, CA
September 1993 – September 1997, Teaching Assistant and Research Assistant, Department of
       Engineering-Economic Systems, Stanford University, Stanford, CA
June 1989 – September 1993, Engineering Manager, Dames & Moore, San Francisco, CA
June 1980 – June 1989, Project Manager, Forell/Elsesser, Rutherford & Chekene and Paul F.
       Fratessa & Assoc., San Francisco, CA




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TESTIMONY

2019: Sanofi-Aventis US, LLC, v. Mylan Inc., et al., 2:17-cv-02452-TJJ, U.S. District Court,
District of Kansas. Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP, Washington,
DC. Retained by Mylan as testifying expert on damages in a false advertising matter under the
Lanham Act involving medical devices.
2018: Confidential, Arbitration. O’Melveny & Myers, Los Angeles. Retained by client in
entertainment industry to provide economic analysis of royalty terms for renewal of trademark
license agreement.
2018-2019: Boltex Mfg. Co. and Weldbend Corp. v. Ulma Forja, S. Coop. a/k/a Ulma Piping and
Ulma Piping USA Corp., 14:17-cv-1400, U.S. District Court, Southern District of Texas.
Dechert LLP, New York, NY. Retained by defendants and counterclaim plaintiffs as damages
expert in false designation of origin and false representation matter under the Lanham Act
involving domestic and foreign carbon steel flanges.
2018: Desktop Metal, Inc. v. Markforged, Inc., et al., 1:18-cv-10524-WGY, U.S. District Court,
District of Massachusetts. Quinn Emanuel Urquhart & Sullivan, LLP, San Francisco, CA.
Retained by defendant and counterclaim plaintiff as testifying economics expert in patent
infringement and misappropriation of trade secrets matter involving 3-D metal printers.
2017-2018: Optrics Inc., v. Barracuda Networks, Inc., et al., 17-cv-04977-RS, U.S. District
Court, Northern District of California. Law Offices of Herbert L. Terreri. Retained by plaintiff
as testifying damages expert in breach of contract and trademark infringement matter involving
software.
2016-2019: SS&C Technologies, Inc. v. Bradley Rossa and Clearwater Analytics, LLC, 2015-
CH-15891, Circuit Court of Cook County, Illinois, County Department, Chancery Division.
Kirkland & Ellis LLP, Chicago, IL. Retained by defendants as damages expert in case involving
alleged misappropriation of trade secrets.
2016-2018: In re: Lenovo Adware Litigation, 5:15-md-02624-RMW, U.S. District Court,
Northern District of California, K&L Gates LLP, Los Angeles, CA. Economics expert on behalf
of defendant in consumer class action matter involving alleged consumer fraud related to
computers.
2016: DNA Genotek Inc., v. Spectrum Solutions L.L.C., et al., 3:16-cv-01544-JLS-NLS, U.S.
District Court, Southern District of California. Simpson Thacher & Bartlett LLP, Palo Alto, CA.
Retained by defendants as economics expert on patent infringement case involving medical
devices.
2016: Kaneka Corp. v. Zhejiang Medicine Co., Ltd., et al., CV 11-02389-MRP, U.S. District
Court, Central District of California. Mei and Mark, LLP, Washington, DC. Retained by
defendant as damages expert in patent infringement case involved pharmaceutical product.
2015-2016: Alexander Stross v. Redfin Corp., 1:15-cv-223-SS, U.S. District Court, Western
District of Texas. Foster Pepper PLLC, Seattle, WA. Retained by defendant as economics
expert on copyright infringement case involving photographs on real estate broker website.




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2015-2016: DNA Genotek Inc., v. Ancestry.com DNA, LLC, 15-0355-SLR, and DNA Genotek
Inc., v. Spectrum DNA, et al., 15-cv-00661-SLR, U.S. District Court, District of Delaware.
Fenwick & West, LLP, San Francisco, CA. Retained by defendant as economics expert on
patent infringement case involving medical devices.
2015-2016: Confidential. Drinker Biddle & Reath LLP, Washington, DC. Expert witness
services on economic analysis of copyright licensing terms.
2015: Changzhou Kaidi Electrical Co, Ltd., et al., v. Okin America, Inc., et al., U.S. District
Court, District of Maryland, 1:13-cv-1798. Mayer Brown LLP, Washington, DC. Provided
expert report, deposition testimony, and testified at trial on behalf of accused infringer in patent
infringement matter involving mechanical actuators.
2015: The Cat Ball, LLC v. FurHaven Pet Products, Inc., U.S. District Court, Western District of
Washington, 2:14-CV-00292-MJP. Foster Pepper PLLC, Seattle, CA. Damages expert on behalf
of defendant in false advertising and unfair competition matter involving pet products.
2014-2015: Matthew Burnett, et al., v. Robert Bosch LLC USA, et al., U.S. District Court,
Middle District of Florida, 8:14-CV-01361. K&L Gates LLP, San Francisco, CA. Economics
expert on behalf of defendant in class certification matter involving alleged misrepresentation of
selected spark plugs.
2014-2015: Michigan State University v. Medlen & Carroll, LLP, et al., U.S. District Court,
Western District of Michigan, 1:14-cv-00039. Fraser Trebilcock Davis & Dunlap, P.C., Detroit,
MI. Damages expert on legal malpractice mater involving alleged failure to file foreign patents
related agricultural biotechnology.
2014-2015: Isola USA Corp. v. Taiwan Union Technology Corp., U.S. District Court, District of
Arizona, 2:12-cv-01361-SLG. K&L Gates, San Francisco, CA. Damages expert on alleged
infringement of patents related to laminates for multilayer printed circuit boards.
2013-2014: Nxegen, LLC et al. v. Sensus USA, Inc., U.S. District Court, District of Connecticut,
3:11-cv-01197-WGY. Mayer Brown LLP, New York, NY. Damages expert on reasonable
royalties in matter involving smart meter technology for utilities.
2013-2014: In the Matter of: Certain Crawler Cranes and Components Thereof, U.S.
International Trade Commission, No. 337-TA-887. Morris, Manning & Martin, LLP, Atlanta,
GA. Expert analysis of existence of domestic market for crawler crane technology.
2013-2014: JS Products, Inc. v. Kabo Tool Company, et al., U.S. District Court, District of
Nevada, 2:11-cv-01856-RCJ-GWF. K&L Gates, LLP, San Francisco, CA. Damages expert in
patent infringement suit involving tool industry technology.
2013: Lodsys Group LLC v. Brother International Corp., et al., U.S. District Court, Eastern
District of Texas, 2:11-cv-00090 (JRG). Fenwick & West, LLP, San Francisco, CA. Retained by
co-defendant, Symantec Corp., as damages expert on patent infringement suit involving software
technology.
2013: Magnate International Ltd. v. Costco Wholesale Corp., U.S. District Court, Central
District of California, 12-cv-09208-GW. Foster Pepper, PLLC, Seattle, WA. Damages expert in
patent infringement suit involving pump technology.



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2012-2015: QS Wholesale, Inc. v. World Marketing Inc., U.S. District Court, Central District of
California, 8:12-cv-00451-DOC-RNB. Covington & Burling LLP, Washington, DC. Provided
expert report, deposition testimony, and testified at trial in trademark infringement suit involving
trademark in apparel industry.
2012-2014: Hart Scott Rodino IP Rulemaking, Project No. P989316—Notice of Proposed
Rulemaking Regarding Certain Licensing Transactions in Pharmaceutical Industry. Baker Botts
L.L.P., Washington, DC. Submitted declaration addressing economic basis for proposed
premerger notification rules related to exclusive patent licensing.
2012-2015: TransUnion Intelligence LLC, et al. v. Search America, Inc., U.S. District Court,
District of Minnesota, 0:11-cv-01075-PJS-LFN. Baker Hostetler, Costa Mesa, CA. Economics
expert in patent infringement suit involving software technology.
2012-2013: Light Guard Systems, Inc. v. Spot Devices, Inc., U.S. District Court, District of
Nevada, 3:10-cv-00737-LRH-WGC. Alston & Bird LLP, Menlo Park, CA. Economics expert in
patent infringement suit involving transportation technology.
2012: Intellectual Ventures I LLC v. Check Point Software Technologies Ltd., et al., U.S. District
Court, Delaware, 1:10-cv-01067-LPS. Durie Tangri, San Francisco, CA. Economics and
damages expert in patent infringement suit involving Internet technology.
2011-2016: Arkema Inc., et al. v. Honeywell International, Inc., U.S. District Court, Eastern
District of Pennsylvania, 2:10-cv-02886-WY. Kirkland & Ellis LLP, Washington, DC.
Economics expert in patent suit (declaratory judgment and counterclaim patent infringement
suit) involving chemical product.
2009-2010: Angela Bates, et al. v. KB Home, Superior Court of California, County of Alameda,
RG-08- 384954. K&L Gates LLP, San Francisco, CA. Provided declaration addressing the
validity of sampling and statistical analysis of escrow instructions performed by plaintiffs related
to class certification of a set of home buyers in California.
2009: In re Patent of Hee Young Yun, et al., U.S. Patent and Trademark Office, 90/008, 143, 145,
146, and 150. McKenna Long & Aldridge LLP, Washington, DC. Provided declaration
addressing economic issues related to claimed commercial success of patents for liquid crystal
display (LCD) modules as part of patent reexamination process.
2007-2008: Quantum Systems Integrators, Inc. v. Sprint Nextel Corp., U.S. District Court,
Eastern District of Virginia, 1:07-CV-00491. Crowell & Moring LLP, Washington, DC.
Provided expert report, deposition testimony, and testified at trial on economic damages arising
out of alleged infringement of copyrighted software.
2007: Alvarado Hospital Medical Center, Inc. v. Alan Wittgrove, M.D., Superior Court of
California, County of San Diego, GIC 827726. C. Matthew Didaleusky, Esq., Oakland, CA.
Provided testimony at arbitration hearing on economic damages arising out of alleged breach of
contract.
2007: SCI California Funeral Services, Inc. v. Five Bridges Foundation, Superior Court of
California, County of San Mateo, CIV 432392. Shartsis Friese LLP, San Francisco, CA.
Provided deposition testimony on economic issues related to valuation of provisions in real
estate agreement.


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2006-2007: DVD Copy Control Association, Inc. v. Kaleidescape, Inc., Superior Court of
California, County of Santa Clara, 104CV031929. White & Case LLP, Palo Alto, CA. Provided
deposition testimony on economic damages arising out of alleged breach of contract by licensee
of proprietary DVD technology.

2005: Confidential Real Estate Co. v. Confidential Law Firm, private arbitration. Nixon Peabody
LLP, San Francisco, CA. Provided expert report, deposition testimony, and testified at arbitration
on economic damages related to valuation of multiple appraisals for real estate leasehold
contract.
2005: Poway RHF Housing, Inc. v. Irwin Pancake Architects, et al., Superior Court of
California, County of Orange, 04CC09795. Hinshaw & Culbertson LLP, San Francisco, CA.
Designated expert on economic damages arising out of alleged breach of contract and
professional negligence against architect, and resulting in delayed opening of senior assisted
living facility.
2003: Eco-Steel Fabrication, Inc. v. Markol Iron, et al., Superior Court of California, County of
Orange. Miller, Brown & Dannis, San Francisco, CA. Provided expert report and testified at
mediation on economic damages resulting from delayed construction of luxury car dealership in
southern California.


NON‐TESTIFYING ASSIGNMENTS

2018-2019: BlueRadios, Inc. v. Kopin Corporation, Inc. U.S. District Court for the District of
Colorado, 16-cv-02052-JLK. Sheridan Ross P.C., Denver, CO. Economic damages analysis of
breach of contract and misappropriation of trade secret claims regarding filing and use of patents.
2015: Confidential. Cravath, Swaine & Moore LLP, New York, NY. Pre-litigation consulting
related economic analysis of technology licensing terms.
2011-2012: Thermal Design, Inc. v. American Society of Heating, Refrigerating and Air-
Conditioning Engineers, Inc. U.S. District Court, Eastern District of Wisconsin, 07-c-0765-
WEC. Von Briesen & Roper, s.c., Milwaukee, WI. Economic analysis of competitive issues
related to industry standards established for insulation used in non-residential, pre-engineered
metal buildings.
2011-2012: Warner Chilcott Laboratories Ireland, Ltd. et al. v. Mylan Pharmaceuticals Inc. et
al. U.S. District Court, District of New Jersey, 2:09-cv- 02073-WJM-MF. Wilson, Sonsini,
Goodrich & Rosati, Palo Alto, CA. Analysis of economic issues related to the market for
doxycycline hyclate delayed-release tablets and effects of proposed preliminary injunction.
2011-2012: Abbott Laboratories et al. v. Impax Laboratories, Inc. U.S. District Court, District of
New Jersey, 210-cv-01322-DMC-JAD. Wilson, Sonsini, Goodrich & Rosati, San Diego, CA.
Economic analysis of the commercial success of Abbott Laboratories’ introduction and sale of
TRILIPIX® (branded fenofibric acid delayed-release 45 mg and 135 mg capsules).
2011: Confidential. Hennigan Dorman LLP, Los Angeles, CA. Analyzed economic damages in
patent infringement suit involving wireless communication technology.



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2010: Kenneth D. Klaas et al. v. Vestin Mortgage, Inc. et al., Eighth Judicial District Court In
and For Clark County, State of Nevada, A528385. Gibson, Dunn & Crutcher LLP, Palo Alto,
CA. Analyzed economic damages arising from merger of real estate investment funds into real
estate investment trusts (REITs).
2010: In Re: Outsidewall Tire, U.S. District Court, Eastern District of Virginia, 1:09cv1217.
Gilbert LLP, Washington, DC. Analyzed economic issues in misappropriate of trade secret,
copyright infringement, and trademark infringement matter involving specialty tires.
2010: Confidential. Morgan, Lewis & Bockius LLP, Washington, DC. Retained on behalf of an
international computer design firm to research and analyze Internet encryption technology
license agreements.
2009-2010: Confidential, ICC International Court of Arbitration Proceeding. Morrison &
Foerster LLP, San Francisco, CA. Analyzed fiduciary duties among co-investors in an Asia-
based financial institution in relation to private equity industry customs and practices.
2009: Jasmine Networks, Inc. v. Marvell Semiconductor, Inc., et al., Superior Court of
California, County of Santa Clara, No. CV801411. Latham & Watkins LLP, San Francisco, CA.
Analyzed economic damages arising out of alleged misappropriation of trade secrets, breach of
fiduciary duty, and breach of contract.
2009: Fujitsu Limited et al. v. Netgear, Inc., U.S. District Court, Western District of Wisconsin,
3:07-CV- 00710-BBC, O'Melveny & Myers LLP, San Francisco, CA. Provided economic and
licensing analysis for patent infringement suit involving wireless Internet products.
2009: Confidential. Carmody & Torrance LLP, New Haven, CT. Retained by manufacturing
company in printing industry to examine economic issues and damages arising out of patent
infringement suits and antitrust counterclaims.
2009: Confidential. Retained by developer of risk analysis software to analyze damages arising
out of alleged breach of contract involving joint development agreement.
2009: Mosaic Systems, Inc. v. Cisco Systems, et al. & Mosaic Systems, Inc. v. Andreas
Bechtolsheim, et al., Superior Court of California, County of Santa Clara, Nos. 104CV016867
&106CV072920. Morgan, Lewis & Bockius LLP, San Francisco, CA. Analyzed performance of
board members’ fiduciary duties in relation to customs and practices for board members of high-
tech startup companies.
2008: Confidential. Retained by electronics firm to examine industry-wide licensing practices
related to fees, royalties, and other licensing terms for discrete electronic components.
2008: Rambus, Inc. v. Samsung Electronics Co., Ltd., et al., U.S. District Court, Northern
District of California, No. C0502298 RMW. Munger, Tolles & Olson LLP. Analyzed economic
issues related to structure of licensing terms among agreements for semiconductor technology.
2008: Verizon Services Corp., et al. v. Cox Fibernet Virginia, Inc., et al., U.S. District Court,
Eastern District of Virginia, No. 2:08 CV20-JBF/TEM. Kilpatrick Stockton LLP, Washington,
DC. Analyzed economic damages from alleged infringement of patents related to Voice over
Internet Protocol (VoIP) technology.




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2008: Beal Bank, S.S.B, et al. v. WestPoint International, Inc., Court of Chancery of the State of
Delaware in and for New Castle County, Civil Action No. 2617- CC. Hennigan, Bennett &
Dorman LLP, Los Angeles, CA. Analyzed financial and economic effects on the bondholders of
a series of actions taken by defendants related to issuance of preferred shares and changes in
corporate governance.
2008: Stamps.Com Inc., vs. Endicia Inc. and PSI Systems, Inc., U.S. District Court Central
District of California, No. CV06-07499 ABC (CTx). Sheppard Mullin Richter & Hampton LLP,
Los Angeles, CA. Analyzed economic damages from alleged infringement of patents related to
automated postage systems.
2007-2008: United States ex rel. J. Richard West et al. v. Timex Corp., U.S. District Court,
District of Connecticut, No. 3:04-CV-212 (JBA). Carmody & Torrance LLP, New Haven, CT.
Analyzed price of watch products sold to U.S. Service Exchanges in alleged violation of Civil
False Claims Act.
2007-2008: Ronald A. Katz Technology Licensing LP v. General Electric Capital Corp., et al.,
U.S. District Court, Eastern District of Texas, No. 9:06-CV-197- RHC. Hennigan, Bennett &
Dorman LLP, Los Angeles, CA. Analyzed economic damages from alleged infringement of
patent portfolio related to interactive call processing technology.
2007-2008: North Shore City Council, Auckland, New Zealand. Consulting engagement related
to economic analysis of allocation between different constituencies of construction costs for
capital expansion of public transportation system.
2007-2008: BP Chemicals Ltd. v. Jiangsu SOPO Corporation (Group) Ltd., et al., United States
District Court, Eastern District of Missouri, No. 4:99-CV-00323 CDP. Paul, Hastings, Janofsky
& Walker LLP, San Francisco, CA. Analyzed economic damages from alleged misappropriation
of trade secrets related to acetic acid manufacturing technology.
2007-2009: Lawrence J. Torango v. Aristocrat Leisure Ltd., et al., U.S. District Court, District of
Nevada, CV-N-03-0690-HDM-VPC. McDermott Will & Emery, Palo Alto, CA. Analyzed
economic damages from alleged breach of contract, misappropriation of trade secrets and
infringement of patent related to gaming machine technology.
2006-2007: Asyst Technologies, Inc. v. Jenoptik AG, et al., U.S. District Court, Northern District
of California, C98-20451 JF. Fenwick & West LLP, San Francisco, CA. Analyzed price erosion
damages associated with alleged patent infringement of semiconductor manufacturing products
and processes.
2006-2007: In Re Methyl Tertiary Butyl Ether (“MTBE”) Products Liability Litigation, U.S.
District Court, Southern District of New York, MDL 1358 (SAS) M21-88. Kirkland & Ellis
LLP, Chicago, IL. Analyzed economic consequences to oil companies of switching from MTBE-
based to Ethanol based oxygenated and reformulated gasoline over the period 1995 to 2003.
2006-2009: MacSolutions, Inc. v. Apple Computer, Inc., Superior Court of California, County of
Santa Clara, 1-06-CV-056547. Latham & Watkins LLP, San Francisco, CA. Analyzed economic
damages related to alleged breach of contract and misappropriation of trade secrets, among other
claims, between independent resellers of Apple products and Apple Computer.




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2006: Fairchild Semiconductor, consulting engagement. Orrick, Herrington & Sutcliffe LLP,
Menlo Park, CA. Prepared opinion letter addressing potential damage award from pending patent
infringement litigation related to the acquisition of a target company by Fairchild
Semiconductor.
2006: H&R Block Eastern Enterprises, Inc., et al. v. Intuit, Inc., U.S. District Court, Western
District of Missouri, 06-0039-CV-W-SOW. Quinn Emanuel Urquhart Oliver & Hedges, LLP,
Redwood City, CA. Analyzed economic damages in original claim and subsequent counterclaim
from alleged trademark infringement, false advertising, and fraudulent and negligent
misrepresentations related to tax preparation software advertisements.
2006: In the Matter of: Certain Incremental Dental Positioning Adjustment Appliances and
Methods of Producing Same, U.S. International Trade Commission, 337-TA. Paul, Hastings,
Janofsky & Walker LLP, Washington, DC. Analyzed existence of domestic market for clear
orthodontic products on behalf of claimant under Section 337 of Tariff Act of 1930. Claimant
alleged patent infringement and trade secret misappropriation.
2006: Jinro Industries Co., Ltd., v. Obyan Beach Resorts Associates, L.P., Superior Court of
California, County of San Mateo, CIV436382. Calvo & Clark LLP, San Francisco, CA.
Analyzed economic damages from alleged breach of contract between partners in a resort in
Saipan, CNMI.
2006: CollegeNET, Inc. v. Xap Corp., U.S. District Court, District of Oregon, 03- 1229-BR.
Fenwick & West LLP, Mountain View, CA. Analyzed economic damages from alleged
infringement of patent related to on-line college application software.
2006: The People of the State of California v. Union Bank of California, N.A., et al., Superior
Court of California, County of Sacramento, 04AS01296. Heller Ehrman LLP, San Francisco,
CA. Analyzed economic damages from alleged submittal of false unclaimed property
(escheatment) reports related to municipal bonds funds.
2005: Trust Created Under the Will of Samuel Mills Damon, Deceased, P. No. 6664 Equity No.
2816-A. John L. McDermott (attorney for Petitioner), Honolulu, HI. Evaluated strategic
alternatives and disposition of California and Hawaii real estate assets of trust.
2005-2006: TiVo, Inc. v. EchoStar Communications Corp., et al., U.S. District Court, Eastern
District of Texas, 2-04cv01 (DF). Morrison & Foerster LLP, San Francisco, CA. Analyzed
economic damages from alleged infringement of patent related to digital video recorders.
2005-2006: James and Lisa Camenson, et al., v. Milgard Manufacturing, Inc., et al., Superior
Court of California, County of Solano, FCS-021177. Sedgwick, Detert, Moran & Arnold LLP,
and Heller Ehrman LLP, San Francisco, CA. Supported economics and marketing experts in
opposition to class certification in alleged defective aluminum window litigation.
2005-2006: LG. Philips LCD Co., Ltd. v. Tatung Co. of America, et al., U.S. District Court,
Central District of California, 02-6775 CBM LTLx. Morgan, Lewis & Bockius LLP,
Philadelphia, PA. Analyzed economic damages from alleged infringement of patents related to
liquid crystal display panels.




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2005: Consulting assignment for Perkins Coie LLP. Performed statistical analysis of patent case
terminations in U.S. District Court, Eastern District of Texas.
2004-2005: Medtronic Vascular, Inc., et al. v. Advanced Cardiovascular Systems, Inc., et al.,
U.S. District Court, District of Delaware, CIV 98-80-SLR. McDermott, Will & Emery, Irvine,
CA. Analyzed economic damages from alleged theft of trade secrets and infringement of patents
related to cardiovascular and peripheral stents.
2004-2005: United States v. Arnold Bengis, et al., U.S. District Court, Southern District of New
York, 03 Crim. 308 (LAK). Morvillo, Abramowitz, Grand, Iason & Silberberg, P.C., New York,
NY. Analyzed restitution damages to South African Government arising out of overcatches of
South Coast and West Coast rock lobsters.
2004-2005: Liveworld, Inc. v. SocialNet, Inc. and MatchNet PLC, et al., Superior Court of
California, County of Santa Clara. Levy, Small & Lallas, Los Angeles, CA. Performed database
valuation, domain name valuation, alter ego analysis, and lost profits analysis associated with
breach of contract between two Internet dating companies.
2004: Big West Oil Company, Travel Plaza LLC, and Flying J, Inc., v. ConocoPhillips Company,
et al., American Arbitration Association, 77-198- 00303-03 VSS. Gibson, Dunn & Crutcher
LLP, Denver, CO. Analyzed retail diesel fuel pricing strategies of truck plaza operators for
company valuation.
2004: United States v. Intangible Property Rights in 958 Acres (Yuma Mesa Irrigation and
Drainage District), U.S. District Court, District of Arizona, CIV- 02-0560-PHX (SRB), U.S.
Department of Justice, Washington, DC. Analyzed lost revenue from the federal government’s
acquisition of an irrigation district’s land in Arizona.
2004: Network Caching Technology, LLC v. Novell, Inc., et al., U.S. District Court, Northern
District of California, CV-01-2079 (VRW). Jones Day, Los Angeles, CA. Analyzed economic
damages due to alleged infringement of patent related to Internet caching network technology.
2004: Software AG, et al. v. BEA Systems, Inc., U.S. District Court, District of Delaware.
Morrison & Foerster LLP, San Francisco, CA. Analyzed economic damages due to alleged
infringement of patent related to business integration software.
2003-2004: MediaTek, Inc. v. Via Technologies, Inc., et al., U.S. District Court, Central District
of California, 02-05016 DSF (RNBx). Fenwick & West LLP, Mountain View, CA. Analyzed
economic damages due to alleged patent and copyright infringement, and misappropriation of
trade secrets of technology related to optical disk drives.
2003-2004: In re Cardizem CD Antitrust Litigation, U.S. District Court, 6th Circuit. Berman,
DeValerio, Pease, Tabacco, Burt & Pucillo, San Francisco, CA. Analyzed economic damages
due to alleged delayed market entry of generic pharmaceutical products.
2003: Retail Services, Inc. and Freebie, Inc. v. Freebies Publishing, et al., U.S. District Court,
Eastern District of Virginia, Civ. 02-1111-A. Gibson, Dunn & Crutcher LLP. Analyzed
economic damages due to alleged infringement of trademark related to on-line and promotional
literature.
2003: MEIE Syndicate Analysis, Australia Taxation Office and Owens Dixon, Sydney, NSW,
Australia. Analyzed economic basis for series of licensing and funding agreements between
investors of distributed multimedia computing technology.

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2003: In re Timex Industries, Inc., et al. U.S. Bankruptcy Court, Central District of California,
03- 16833-MJ, Chapter 11 Proceeding. Levy, Small & Lallas (attorney for creditor), Los
Angeles, CA. Analyzed financial viability of building products company in bankruptcy
proceeding.
2003: Dan Gill, et al. v. ExxonMobil Corporation, Inc., et al., County Court 4 of Nueces County
Texas, 03-60079-4. ExxonMobil in-house counsel, Houston, TX. Analyzed wholesale, DTT, and
retail gasoline prices in selected Texas cities in response to alleged breach of contract regarding
dealer price rebates.
2003: Sun Life Assurance Company of Canada v. Golden Eagle Insurance Corporation, et al.,
Private arbitration. Milbank, Tweed, Hadley & McCoy LLP, Los Angeles, CA. Analyzed
statistical sampling methodology employed in review of reinsurance treaties associated with a
portfolio of Workers’ Compensation insurance claims.
2002-2003: Lawrence J. Knapp and Nicer Technologies, L.P. v. Raymond M. Galas so and
Thompson & Knight LLP, District Court of Tarrant County, Texas, 153-191270-02. Shannon,
Grace, Ratliff & Miller LLP, Fort Worth, TX. Analyzed economic damages due to alleged
negligence in prosecution of a patent related to testing equipment used to calibrate
semiconductor manufacturing devices.
2002: Macpherson’s Inc., et al. v. Windermere Real Estate Services Company, et al., U.S.
District Court, Western District of Washington, C01-1885P. Demco Law Firm, P.S., Seattle,
WA. Assessed validity of plaintiffs’ antitrust claims against a franchisor of residential real estate
brokerage businesses.
2002: Raman Froze d.b.a. Wizen Software v. EarthLink Network, Inc., et al., Superior Court of
the State of California, City and County of San Francisco, 11889-01. Quinn, Emanuel, Urquhart,
Oliver & Hedges, LLP, San Francisco, CA. Analyzed economic damages due to alleged breach
of contract and misappropriation of software programming code.
2001-2002: Business Objects, S.A. v. Congas, Inc., et al., U.S. District Court, Northern District
of California, C 20503. Fenwick & West LLP, Mountain View, CA. Analyzed economic
damages due to alleged infringement of patent related to relational database software.




PUBLICATIONS

Varner, Thomas R. & Hnath, G. M., “Patent Valuation Analysis—Patent Forward Citations and
Patent Quality,” retrieved from https://mp.weixin.qq.com/s/ShSYr8pOmX8igQucVcYriA, 2018,
September 3.

Hnath, Gary, Jing Zhang and Thomas R. Varner, “Patent Forward Citations and Patent Quality,”
Asia IP & TMT: Quarterly Review, Second Quarter 2018.
Varner, Thomas R., “Federal Circuit Again Scrutinizes Reasonable Royalties in Patent Damages
in VirnetX v. Cisco Systems and Apple,” The Economists Ink, Winter 2015.


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Varner, Thomas R., “Nash Bargaining May Not Be Right for Patent Damages,” Law360, April
18, 2014.
Varner, Thomas R., “Empirical Data on ‘Comparable Licenses’ in Patent Infringement Suits,”
The Economists Ink, Fall 2012.
Varner, Thomas R., “An Economic Perspective on Patent Licensing Structure and Provisions,”
Business Economics, Vol. 46 (4), October 2011.
Varner, Thomas R., “Uniloc and the Demise of the 25 Percent Rule,” The Economists Ink, Spring
2011.
Varner, Thomas R., “Technology Royalty Rates in SEC Filings,” les Nouvelles, Journal of the
Licensing Executives Society International, Vol. XLV, No. 3, September 2010, pp. 120-127.
Varner, Thomas R., “Reasonable Royalties and ‘Comparable Licenses’: Three Recent Court
Rulings,” The Economists Ink, Spring 2010.


PROFESSIONAL AFFILIATIONS

Member, Licensing Executives Society, USA & Canada
Member, American Economics Association
Member, National Association of Business Economists
Member, American Society of Civil Engineers
Associate Member, American Bar Association (IP Law Section)


OTHER

Speaker on economics, damages and technology licensing issues at Licensing Executives Society
(LES), American Law Institute/American Bar Association (ALI/ABA) and Law Seminars
International (LSI) seminars and conferences.
Licensed Civil Engineer and Licensed Structural Engineer (Inactive), State of California
Certificate in Hazardous Materials Management, University of California, Davis, 1990
Ph.D. Dissertation: Strategic Investment Analysis: A Study of Indirect Effects in Optimal
Portfolio Selection, 1997




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                                  Appendix B - List of Materials Considered
                         Expert Report of Thomas R. Varner, Ph.D., February 4, 2019
                                          Document Title / Bates Number                                       Date
Legal
         Complaint                                                                                           24-Apr-17
         Answer, Affirmative Defenses, and Counterclaims of Mylan Inc. and Mylan Specialty L.P. (Parker      16-Jan-18
         Ex. 8)
         Sanofi’s Responses and Objections to Mylan’s Second Set of Interrogatories to Sanofi-Aventis U.S.   12-Mar-18
         LLC (Parker Ex. 7)
         Sanofi’s Amended Responses and Objections to Mylan’s Second Set of Interrogatories to Sanofi-       22-Jun-18
         Aventis U.S. LLC
         Plaintiff/Counterclaim-Defendant Sanofi-Aventis U.S., LLC’s Amended Response to Defendant           30-Nov-18
         Mylan Inc. and Defendant/Counterclaim-Plaintiff Mylan Specialty L.P.’s Requests for Admission
         Notice to Deposition Witnesses (Harr Ex. 1)                                                         17-May-18
         Notice of Rule 30(b)(6) Deposition of Plaintiff/Counterclaim-Defendant Sanofi-Aventis U.S. LLC        5-Jun-18
         (Barry 30(b)(6) Ex. 1, Downey Ex. 1, and Harr Ex. 37)

Depositions and Exhibits
30(b)(6) Barry, Patrick (Sanofi)                                                                               13-Jul-18
         Barry, Patrick (Sanofi)                                                                               13-Jul-18
30(b)(6) Downey, Bryan (Sanofi)                                                                                31-Jul-18
         Downey, Bryan (Sanofi)                                                                                1-Aug-18
30(b)(6) Harr, Lorine (Sanofi)                                                                               15-Aug-18
         Harr, Lorine (Sanofi)                                                                               14-Aug-18
30(b)(6) Jan, Saira (Horizon Blue Cross Blue Shield of New Jersey)                                           30-Nov-18
         Parker, James (Sanofi)                                                                               30-Oct-18
30(b)(6) York, Jay (Mylan)                                                                                     1-Aug-18
         Zinn, Patrick (Mylan)                                                                               22-Aug-18

Other Legal Cases
         Defendants Memorandum of Law in Support of Motion to Dismiss the Consolidated Amended Class          9-Mar-18
         Action Complaint (Counts 1–6), In Re Insulin Pricing Litigation (Barry Ex. 7)

Caselaw and Statutes
         15 U.S. Code § 1117 (Section 35 of the Lanham Act): Recovery for violation of rights
         Federal Rules of Civil Procedure, Rule 26. Duty to Disclose

Academic Texts and Articles
        Reference Manual on Scientific Evidence, Third Edition, Federal Judicial Center, “Reference Guide
        on Statistics,” David H. Kaye and David A. Freedman

Industry Materials
         IMS, “Appropriate Use of IMS Information: Financial Community Presentation,” November 12,
         PhRMA, “Follow the Dollar: Understanding How the Pharmaceutical Distribution and Payment
         System Shapes the Prices of Brand Medicines,” November 2017

Public Documents
         Mylan Inc., “Form 10-K,” 2017
         Sanofi, “Form 20-F,” 2013


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         Sanofi, “Form 20-F,” 2015
         Sanofi, “Form 20-F,” 2017

Nonpublic Documents
        “Auvi-Q and Allerject Analysis,” Sanofi, October 9, 2016 (Barry 30(b)(6) Ex. 4)                    9-Oct-16
        “Auvi-Q: Drug/Device & Adequate Evidence,” Sanofi, December 6, 2013 (Parker Ex. 9)                 6-Dec-13
        Letter from Allison Gassaro (Sanofi) to Joseph Haggerty (Mylan), re: Mylan Communications         20-Sep-13
        Regarding Auvi-Q Epinephrine Auto-Injector, September 20, 2013 (Harr Ex. 39)

Interviews
         Phone interview with Chris Benson (Mylan)                                                        25-Jan-19
         Phone interview with Patrick Zinn (Mylan)                                                        18-Jan-19
         Phone interview with Patrick Zinn (Mylan)                                                        28-Jan-19
         Phone interview with Roger Graham (Mylan)                                                        28-Jan-19

Data
         “Burns 082918.xlsx”
         “Highly Confidential_NSP_ Jan 2008 - July 2012.xlsx”
         “ZWMH.TPRICE.CLIENT.OUTPUT.Y0809.CSV” (as provided in the expert report productions of
         Einer Elhauge and Meredith Rosenthal)
         “ZWMH.TPRICE.CLIENT.OUTPUT.Y1011.CSV” (as provided in the expert report productions of
         Einer Elhauge and Meredith Rosenthal)
         “ZWMH.TPRICE.CLIENT.OUTPUT.Y1213.CSV” (as provided in the expert report productions of
         Einer Elhauge and Meredith Rosenthal)
         “ZWMH.TPRICE.CLIENT.OUTPUT.Y1415.CSV” (as provided in the expert report productions of
         Einer Elhauge and Meredith Rosenthal)
         “ZWMH.TPRICE.CLIENT.OUTPUT.Y1617.CSV” (as provided in the expert report productions of
         Einer Elhauge and Meredith Rosenthal)
         “ZWMH.TPRICE.CLIENT.OUTPUT.Y18.CSV” (as provided in the expert report productions of
         Einer Elhauge and Meredith Rosenthal)
         MYEP01362495
         MYEP01362496
         MYEP01362497
         MYEP01362498
         SAN-EPI-1166400
         SAN-EPI-1201142
         SAN-EPI-1201143
         SAN-EPI-1201144
         SAN-EPI-1201145

News, Press, and Websites
         “About Meridian,” Meridian Medical Technologies, 2018, available at
         <https://www.meridianmeds.com/about>, accessed January 27, 2019
         “About,” kaléo, 2019, available at <https://kaleo.com/who-we-are/about/>, accessed January 26,
         “Approved Drug Products with Therapeutic Equivalence Evaluations (Orange Book),” FDA Orange
         Book, September 26, 2018, available at
         <https://www.fda.gov/drugs/informationondrugs/ucm129662.htm>, accessed January 25, 2019




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 “Auvi-Q (epinephrine injection, USP) Recall,” Sanofi U.S., 2019, available at
 <https://www.sanofi.us/en/products-and-resources/Auvi-Q-epinephrine-injection-USP-Recall/>,
 accessed January 26, 2019
 “FDA Approved Epinephrine Auto-Injectors,” FDA Orange Book, June 15, 2017, available at
 <https://www.fda.gov/downloads/drugs/informationondrugs/ucm520800.pdf>, accessed January 25,
 2019
 “FDA approves first generic version of EpiPen,” FDA News Release, August 16, 2018, available at
 <https://www.fda.gov/newsevents/newsroom/pressannouncements/ucm617173 htm>, accessed
 January 26, 2019
 “FDA approves first generic version of EpiPen,” FDA, August 16, 2018, available at
 <https://www.fda.gov/newsevents/newsroom/pressannouncements/ucm617173 htm>, accessed
 January 26, 2019
 “Impax Completes Acquisition of Tower Holdings, Inc. and Lineage Therapeutics Inc.,” Impax
 Laboratories, March 10, 2015, available at <https://investors.impaxlabs.com/news/press-
 releases/press-release-details/2015/Impax-Completes-Acquisition-Of-Tower-Holdings-Inc-And-
 Lineage-Therapeutics-Inc/default.aspx>, accessed February 1, 2019
 “Important Prescribing Information - Subject: New Formulation of Adrenalin® (epinephrine)
 Injection 1-ml Single-use Vials: Withdrawal of Intraocular Surgery Indication,” Par Pharmaceutical,
 2016, available at
 <https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsan
 dProviders/UCM564405.pdf>, accessed January 25, 2019
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 <https://ir.iqvia.com/investors/press-releases/press-release-details/2016/IMS-Health-and-Quintiles-to-
 Merge/default.aspx>, accessed February 1, 2019
 “kaléo, Inc.: Private Company Information,” Bloomberg, January 26, 2019, available at
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 January 26, 2009
 “Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations, Product Details
 for NDA 019430,” FDA Orange Book, available at
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 9430#>, accessed January 30, 2019
 “Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations, Product Details
 for NDA 020800,” FDA Orange Book, available at
 <https://www.accessdata fda.gov/scripts/Cder/ob/results_product.cfm?Appl_Type=N&Appl_No=02
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 “Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations, Product Details
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 “Products and Pipeline,” kaléo, 2019, available at <https://kaleo.com/who-we-are/about/>, accessed
 January 26, 2019
 “QuintilesIMS is now IQVIA,” Business Wire , November 6, 2017, available at
 <https://www.businesswire.com/news/home/20171106005380/en/QuintilesIMS-IQVIA>, accessed
 February 1, 2019
 “Sanofi Sets Out Strategic Roadmap for Long-term Growth,” Sanofi Press Release, November 6,
 2015 (Barry 30(b)(6) Ex. 2)
 “Sanofi US to Return Auvi-Q (epinephrine injection, USP) Rights to kaléo,” Sanofi Press Release,
 February 23, 2016 (Barry 30(b)(6) Ex. 7)




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Bates Documents
         AG00000799 (Downey Ex. 9)
         ANTH-EPI03662
         CIGNA_00478
         EAI 00027790
         Horizon00009478 (Jan Ex. 5)
         Horizon00013404 (Jan Ex. 4)
         KALEO 101808 (Williamson Ex. 6)
         KALEO 101809
         KALEO-00006989 (Parker Ex. 2)
         KALEO-00006994 (Parker Ex. 4)
         KALEO-00007001 (Parker Ex. 5)
         KALEO-00007551 (Parker Ex. 3)
         KALEO-00042499 (Williamson Ex. 14)
         KFHP-005893
         MYEP00001440
         MYEP00047063
         MYEP00047072
         MYEP00047084
         MYEP00047157
         MYEP00047170
         MYEP00047180
         MYEP00047204
         MYEP00047233
         MYEP00047250
         MYEP00047269
         MYEP00047277
         MYEP00047335
         MYEP000677384
         MYEP00169934
         MYEP00256469
         MYEP00265212
         MYEP00318158
         MYEP00483111
         MYEP00503600
         MYEP00503757
         MYEP00513817
         MYEP00515665
         MYEP00524939
         MYEP00524984
         MYEP00552533
         MYEP00552536
         MYEP00553451
         MYEP00606646
         MYEP00681772
         MYEP00742658
         MYEP00752542
         MYEP00798486
         MYEP00814343



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 MYEP00861934
 MYEP00871098
 MYEP01083145
 MYEP01129563
 MYEP01186100
 MYEP01186102
 MYEP01191202
 MYEP01211794
 MYEP01319592
 MYEP01362498
 PS0209703
 SAN-EPI_A-0000837 (Barry Ex. 30)
 SAN-EPI_A-0000956 (Barry Ex. 28)
 SAN-EPI_A-0000957 (Downey Ex. 27)
 SAN-EPI_A-0011182 (Barry Ex. 5)
 SAN-EPI_A-0088536 (Harr Exs. 24 and 32)
 SAN-EPI-0002167 (Barry Ex. 20)
 SAN-EPI-0002355
 SAN-EPI-0004239 (Barry Ex. 4)
 SAN-EPI-0004304 (Barry Ex. 3)
 SAN-EPI-0007054 (Barry Ex. 37)
 SAN-EPI-0007286 (Barry Ex. 36)
 SAN-EPI-0012158 (Barry Ex. 18)
 SAN-EPI-0013125 (Barry Ex. 17)
 SAN-EPI-0013431 (Downey Ex. 8)
 SAN-EPI-0027555 (Barry Ex. 35 and Harr Ex. 23)
 SAN-EPI-0031476 (Barry Ex. 27)
 SAN-EPI-0032713
 SAN-EPI-0033571 (Barry Ex. 26)
 SAN-EPI-0041336 (Downey Ex. 16)
 SAN-EPI-0041465 (Downey Ex. 13)
 SAN-EPI-0053138 (Barry Ex. 40)
 SAN-EPI-0053374 (Barry Ex. 38)
 SAN-EPI-0057517 (Barry Ex. 29)
 SAN-EPI-0057924 (Barry Ex. 25)
 SAN-EPI-0058177 (Parker Ex. 10)
 SAN-EPI-0059445 (Barry Ex. 23)
 SAN-EPI-0062305 (Barry Ex. 10)
 SAN-EPI-0062330 (Downey Ex. 14)
 SAN-EPI-0064220 (Barry Ex. 2)
 SAN-EPI-0069127
 SAN-EPI-0078858
 SAN-EPI-0080307 (Harr Ex. 36)
 SAN-EPI-0080704
 SAN-EPI-0081008
 SAN-EPI-0082989
 SAN-EPI-0083095
 SAN-EPI-0083237
 SAN-EPI-0083247



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 SAN-EPI-0087111
 SAN-EPI-0087325
 SAN-EPI-0088510
 SAN-EPI-0091515
 SAN-EPI-0095078
 SAN-EPI-0096584 (Downey Ex. 29)
 SAN-EPI-0098389 (Downey Ex. 10)
 SAN-EPI-0102717 (Downey Ex. 7)
 SAN-EPI-0102975 (Downey Ex. 6)
 SAN-EPI-0110035 (Downey Ex. 20)
 SAN-EPI-0138094
 SAN-EPI-0138103 (Downey Ex. 32)
 SAN-EPI-0146381
 SAN-EPI-0148365
 SAN-EPI-0148375
 SAN-EPI-0153210 (Downey Ex. 30)
 SAN-EPI-0158511
 SAN-EPI-0161780 (Barry Ex. 22)
 SAN-EPI-0171340 (Downey Ex. 15)
 SAN-EPI-0194007
 SAN-EPI-0194007 (Barry 30(b)(6) Ex. 6)
 SAN-EPI-0194008
 SAN-EPI-0197629
 SAN-EPI-0198549 (Harr Ex. 31)
 SAN-EPI-0199208 (Harr Ex. 27)
 SAN-EPI-0200861
 SAN-EPI-0210261 (Harr Ex. 22)
 SAN-EPI-0210391
 SAN-EPI-0211693
 SAN-EPI-0213952
 SAN-EPI-0218849 (Harr Ex. 35)
 SAN-EPI-0219033 (Harr Ex. 34)
 SAN-EPI-0219136 (Barry Ex. 39)
 SAN-EPI-0222062 (Harr Ex. 21)
 SAN-EPI-0224717 (Barry Ex. 34 and Harr Ex. 20)
 SAN-EPI-0225642 (Barry Ex. 33 and Harr Ex. 19)
 SAN-EPI-0227361
 SAN-EPI-0230381 (Harr Ex. 26)
 SAN-EPI-0230556
 SAN-EPI-0232402 (Harr Ex. 25)
 SAN-EPI-0235298 (Harr Ex. 13)
 SAN-EPI-0238962
 SAN-EPI-0241051
 SAN-EPI-0241420 (Harr Ex. 10)
 SAN-EPI-0243446 (Harr Ex. 11)
 SAN-EPI-0243812 (Harr Ex. 8)
 SAN-EPI-0243951 (Harr Ex. 9)
 SAN-EPI-0246125
 SAN-EPI-0255974 (Harr Ex. 16)



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 SAN-EPI-0258725 (Harr Ex. 3)
 SAN-EPI-0259092
 SAN-EPI-0260070 (Harr Ex. 2)
 SAN-EPI-0260555 (Harr Ex. 29)
 SAN-EPI-0263667 (Downey Ex. 22)
 SAN-EPI-0265085
 SAN-EPI-0274664 (Harr Ex. 46)
 SAN-EPI-0277215
 SAN-EPI-0279095 (Harr Ex. 41)
 SAN-EPI-0279100 (Harr Ex. 48)
 SAN-EPI-0279259
 SAN-EPI-0281056 (Harr Ex. 40)
 SAN-EPI-0284970 (Barry Ex. 42)
 SAN-EPI-0285761 (Barry Ex. 21)
 SAN-EPI-0295845 (Harr Ex. 18)
 SAN-EPI-0295957 (Harr Ex. 15)
 SAN-EPI-0297235 (Harr Ex. 47)
 SAN-EPI-0302203 (Barry Ex. 12)
 SAN-EPI-0305836
 SAN-EPI-0307057 (Harr Ex. 38)
 SAN-EPI-0309724 (Harr Ex. 17)
 SAN-EPI-0310632 (Harr Ex. 14)
 SAN-EPI-0326500 (Harr Ex. 43)
 SAN-EPI-0339842 (Harr Ex. 45)
 SAN-EPI-0339843 (Harr Ex. 44)
 SAN-EPI-0341835 (Harr Ex. 5)
 SAN-EPI-0377130 (Barry Ex. 13)
 SAN-EPI-0377528 (Barry Ex. 31)
 SAN-EPI-0377613
 SAN-EPI-0381146 (Barry Ex. 11)
 SAN-EPI-0381161 (Barry Ex. 9)
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 SAN-EPI-0396662 (Harr Ex. 42)
 SAN-EPI-0421866 (Downey Ex. 28)
 SAN-EPI-0460986 (Harr Ex. 28)
 SAN-EPI-0465723 (Harr Ex. 33)
 SAN-EPI-0467641
 SAN-EPI-0468116 (Barry Ex. 32)
 SAN-EPI-0468859
 SAN-EPI-0474016
 SAN-EPI-0475464 (Harr Ex. 12)
 SAN-EPI-0538121 (Downey Ex. 4)
 SAN-EPI-0591672
 SAN-EPI-0591675
 SAN-EPI-0604949
 SAN-EPI-0686246 (Downey Ex. 24)
 SAN-EPI-0688814
 SAN-EPI-0688816
 SAN-EPI-0691534 (Parker Ex. 6)



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 SAN-EPI-0699296 (Parker Ex. 1)
 SAN-EPI-0705748
 SAN-EPI-0705750
 SAN-EPI-0788600 (Downey Ex. 33)
 SAN-EPI-0788633 (Barry 30(b)(6) Ex. 3)
 SAN-EPI-0789416 (Barry 30(b)(6) Ex. 5)
 SAN-EPI-0792154 (Downey Ex. 23)
 SAN-EPI-0797727 (Barry Ex. 24)
 SAN-EPI-0803705 (Barry Ex. 14)
 SAN-EPI-0806073 (Barry Ex. 1 and Downey Ex. 11)
 SAN-EPI-0853374 (Downey Ex. 31)
 SAN-EPI-0869032 (Downey Ex. 5)
 SAN-EPI-0886659 (Harr Ex. 39)
 SAN-EPI-0899809 (Downey Ex. 18)
 SAN-EPI-0899830 (Downey Ex. 17)
 SAN-EPI-0900347 (Barry Ex. 6 and Downey Ex. 12)
 SAN-EPI-0919193 (Harr Ex. 30)
 SAN-EPI-0928169
 SAN-EPI-0928170
 SAN-EPI-0929321 (Harr Ex. 7)
 SAN-EPI-0930020 (Harr Ex. 6)
 SAN-EPI-0932365 (Harr Ex. 4)
 SAN-EPI-0942591
 SAN-EPI-0945848 (Barry Ex. 41)
 SAN-EPI-0946468 (Barry Ex. 19)
 SAN-EPI-0953622 (Barry Ex. 15)
 SAN-EPI-0971640 (Downey Ex. 2)
 SAN-EPI-0980887 (Downey Ex. 19)
 SAN-EPI-1003658 (Downey Ex. 3)
 SAN-EPI-1031769
 SAN-EPI-1031770
 SAN-EPI-1058488 (Barry Ex. 16)
 SAN-EPI-1088824 (Downey Ex. 21)
 SAN-EPI-1148855 (Downey Exs. 25 and 26)
 SAN-EPI-1158291
 SAN-EPI-1166023
 SAN-EPI-1166033
 SAN-EPI-1207542
 SAN-EPI-1207543
 SAN-EPI-1207552
 SAN-EPI-1207556
 SAN-EPI-1207599
 SAN-EPI-1207600
 SAN-EPI-1209659
 SAN-EPI-1212218




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Exhibit 2.1 Sanofi's Auvi-Q® Sales
                                                                           2015 Oct. 1-   Total 2013-     2015 Nov. -            Total
Product                                   2013       2014    2015 Q1-Q3      Oct. 22      Oct. 22, 2015      Dec.       2015   2013-2015
Auvi-Q® Auto-Injector 0.15MG
                                    [1]
2FG + 1 Trainer
     Gross sales ($)
     Units sold
     Doses sold
     Avg. sales $/dose

Auvi-Q® Auto-Injector .3MG 2FG
                                    [1]
+ 1 Trainer
      Gross sales ($)
      Units sold
      Doses sold
      Avg. sales $/dose

All Auvi-Q® Auto-Injector Sales     [1]
      Gross sales ($)               [3]
      Units sold
      Doses sold
      Avg. sales $/dose

All Auvi-Q® Auto-Injector Sales
      Net sales ($)                 [2]


      Notes:
      [1] Source: SAN-EPI-1201145 xlsx.
      [2] Source: SAN-EPI-1148855 xlsx
      [3]




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Exhibit 2.2 Sanofi's Auvi-Q® Sales Quarterly

                                                                                                                                                      2015 Oct. 1-     Total
Product                                    2013Q1   2013Q2   2013Q3   2013Q4   2014Q1      2014Q2        2014Q3   2014Q4   2015Q1   2015Q2   2015Q3     Oct. 22      2013-2015
Auvi-Q® Auto-Injector 15MG 2FG
                               [1]
+ 1 Trainer
     Gross sales ($)
     Units sold
     Doses sold
     Avg sales $/dose

Auvi-Q® Auto-Injector 3MG 2FG
                                    [1]
+ 1 Trainer
     Gross sales ($)
     Units sold
     Doses sold
     Avg sales $/dose

All Auvi-Q® Auto-Injector Sales     [1]
     Gross sales ($)
     Units sold                                                                                                                                                              0
     Doses sold
     Avg sales $/dose

All Auvi-Q® Auto-Injector Sales
     Net Sales                      [2]

 Notes:
 [1] Source: SAN-EPI-1201145 xlsx
 [2] Source: SAN-EPI-1148855 xlsx
 [3]




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Exhibit 3.1 Sanofi's Auvi-Q® Profit and Loss Statement
Source: [1]

Total Auvi-Q®
                                            2012   2013   [2]   2014       [2]    2015 Q1-Q3   [2]   2015 Q4   2015   2016   2017
Gross Sales
     Pharmaceutical Contribution Sales
     Sales Returns
     Customer Advantages
     Commercial Discounts
     Financial Discounts
Net Sales
Royalty Paid
Cost of Goods Sold
Gross Margin
Operating Costs
Research and Development
      Local Clinical Studies
Sales Force
      Internal sales force
Promotion Expense
      Medical Material advert / brochures
      Samples
      Press / Advertising expenses
      Specialized scientific information
Marketing Management
Other Current Operating Income
      Other Current Operating Inc
Other Current Operating Expenses
Business Operating Income
[3]
GTN % (Gross Sales to Net Sales %)
GM % (Gross Margin to Net Sales%)
OpEx % of Net Sales
BOI % (Business Operating Income %)


   Notes:
   [1] Source: SAN-EPI-1148855 xlsx




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Exhibit 4.1 Mylan EpiPen® Auto-Injector Sales
Source: [1]

Mylan Standard Order + Drop Ship Orders
[2]                                                                                     2015 Oct. 1-   2013 -   2015 Oct. 23-   2016 Jan. 1-




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Exhibit 5.1 Mylan's EpiPen® Auto-Injector Commercial Brand Profit and Loss Statement
Source: [1]

EpiPen® Auto-Injector Domestic
($ in Millions)
                                                                                                                                2013 to
                                                          2010            2011   2012        2013         2014   2015 Q1-Q3   2015 Q1-Q3   4Q'15A   2015   2016




       [2] Gross Margin (GM) percentages calculated from $ values above




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Exhibit 5.2 Mylan's EpiPen® Auto-Injector Net to Gross Sales

($ in Millions)
                                                                                                             2013 to                     2016 Jan -
                                             2010      2011    2012        2013        2014   2015 Q1-Q3   2015 Q1-Q3   2015 Q4   2015      Aug




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Exhibit 6.1 EAI Doses Sold--Annually 2012 to 2017
Source: [1]




              Notes:
              [1] Source: Xponent (IMS) National Prescription Audit (NPA) data From IMS, "Appropriate Use of IMS Information," 11/12/09: NPA data is
              "National estimates of prescriptions, or the rate at which drugs move out of the pharmacy and into the hands of a consumer via formal dispensed
              prescriptions "




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Exhibit 6.2 Actual EAI Doses Sold--Quarterly 2013 to 2015
Source: [1]

                                                        2013        2013        2013        2013        2014        2014        2014   2014   2015   2015   2015   2015                  2015   2015
                                                         Q1          Q2          Q3          Q4          Q1          Q2          Q3     Q4     Q1     Q2     Q3     Q4    2013   2014   Q1-Q3   Oct




                                                                                       0




                         ®                                                             3




                                                                                       0




     Notes:
     [1] Source: Xponent (IMS) National Prescription Audit (NPA) data From IMS, "Appropriate Use of IMS Information,"
     11/12/09: NPA data is "National estimates of prescriptions, or the rate at which drugs move out of the pharmacy and into the
     hands of a consumer via formal dispensed prescriptions "




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Exhibit 6.3 Apportioned EAI Sales
Source: [1]
   % Auvi-Q® sales due to false representation: [2]        100%
                                                          2013       2013       2013       2013       2014       2014       2014       2014       2015      2015   2015   2015                  2015   2015
                                                           Q1         Q2         Q3         Q4         Q1         Q2         Q3         Q4         Q1        Q2     Q3     Q4    2013   2014   Q1-Q3   Oct




Notes:
[1] See Exhibit 6 2 for actual sales before apportionment Percentages based on doses sold by prescription
[2] I understand that it is the defendant's burden to deduct costs and apportion damages per Lanham Act § 1117 ("In assessing profits the plaintiff shall
be required to prove defendant’s sales only; defendant must prove all elements of cost or deduction claimed ") For purposes of my calculations in this
exhibit I assume all Auvi-Q® sales are due to false representation




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Exhibit 8.1 Gross and Net Price Analysis




         Notes:


         [3] Source: SAN-EPI-1201145.xlsx
         [4] Source: Sanofi's Auvi-Q Profit and Loss Statement (SAN-EPI-1148855.xlsx)




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Exhibit 9.1.1 Sanofi Income Statement

                                                Sanofi Income Statement, 2012-2017, EUR

For the Fiscal Period Ending                   12 months            12 months            12 months          12 months          12 months      12 months
Currency: EUR, millions                       12/31/2012 e         12/31/2013 e         12/31/2014 e       12/31/2015 e       12/31/2016 e    12/31/2017

Revenue                                                                                                d                  d
                                                  34,947.0             32,951.0             33,456.0           34,060.0           33,821.0       35,055.0
Other Revenue                                                                                          d                  d
                                                   1,010.0                355.0                653.0              801.0              887.0        1,149.0
 Total Revenue                                    35,957.0             33,306.0             34,109.0           34,861.0           34,708.0       36,204.0

Cost Of Goods Sold                                           a                     c
                                                  11,075.0             10,983.0             11,029.0           10,919.0           10,702.0       11,428.0
 Gross Profit                                     24,882.0             22,323.0             23,080.0           23,942.0           24,006.0       24,776.0

Selling General & Admin Exp.
                                                             abc                   c
                                                   9,129.0              8,762.0              9,249.0            9,496.0            9,600.0       10,150.0
R & D Exp.                                                   a
                                                   4,905.0              4,770.0              4,824.0            5,082.0            5,172.0        5,472.0
Amort. of Goodwill and Intangibles                 3,291.0              2,914.0              2,482.0            2,137.0            1,692.0        1,866.0
Other Operating Expense/(Income)
                                                             a                     ac
                                                   (414.0)              (164.0)              (266.0)            (130.0)               18.0         (81.0)
 Other Operating Exp., Total                      16,911.0             16,282.0             16,289.0           16,585.0           16,482.0       17,407.0

 Operating Income                                  7,971.0              6,041.0              6,791.0            7,357.0            7,524.0        7,369.0

Interest Expense                                   (417.0)              (366.0)              (361.0)            (331.0)            (274.0)        (277.0)
Interest and Invest. Income                          68.0                 49.0                 68.0               57.0               56.0           56.0
  Net Interest Exp.                                (349.0)              (317.0)              (293.0)            (274.0)            (218.0)        (221.0)

Income/(Loss) from Affiliates                        393.0                 35.0               (51.0)             (22.0)              134.0          104.0
Currency Exchange Gains (Loss)                      (58.0)               (59.0)              (100.0)            (338.0)            (269.0)        (101.0)
Other Non-Operating Inc. (Exp.)                    (101.0)               (74.0)               (97.0)             (39.0)             (46.0)           61.0
 EBT Excl. Unusual Items                           7,856.0              5,626.0              6,250.0            6,684.0            7,125.0        7,212.0

Restructuring Charges                            (1,141.0)              (300.0)              (411.0)            (795.0)            (879.0)        (731.0)
Merger & Related Restruct. Charges                  (23.0)                 (8.0)                                                      (3.0)       (166.0)
Gain (Loss) On Sale Of Invest.                         7.0                 42.0                 83.0               46.0            (246.0)
Gain (Loss) On Sale of Assets                                             165.0                                       -               40.0           90.0
Asset Writedown                                    (117.0)            (1,387.0)                 26.0            (767.0)            (192.0)        (397.0)
Legal Settlements                                  (225.0)                                                                           102.0
Other Unusual Items                                (192.0)                499.0              (268.0)               53.0            (135.0)        (374.0)
 EBT Incl. Unusual Items                           6,165.0              4,637.0              5,680.0            5,221.0            5,812.0        5,634.0

                                                             ac
Income Tax Expense                                 1,108.0               763.0              1,171.0              709.0            1,326.0        1,722.0
 Earnings from Cont. Ops.                          5,057.0              3,874.0              4,509.0            4,512.0            4,486.0        3,912.0

Earnings of Discontinued Ops.                                                                                   (124.0)             314.0        4,643.0
Extraord. Item & Account. Change
 Net Income to Company                             5,057.0              3,874.0              4,509.0            4,388.0            4,800.0        8,555.0

Minority Interest in Earnings                      (169.0)              (158.0)              (119.0)            (101.0)             (91.0)        (121.0)

 Net Income                                        4,888.0              3,716.0              4,390.0            4,287.0            4,709.0        8,434.0

 Notes:
 Amounts are referenced from the company's original Form 20-F for a given year, unless otherwise noted.
 a - Restated on March 7, 2014 due to the application of the revised IAS 19.
 b - Restated on March 7, 2014 in connection with interest cost on the net defined-benefit plan liability.
 c - Restated due to the application of IFRIC 21 on March 11, 2015.
 d - Restated on March 3, 2017 due to a change in accounting presentation where VaxServe sales of non-Sanofi products are included in Other
 Revenue from 2016 onwards.
 e - Amounts do not account for subsequent reclassifications made due to a merger, acquisition, or other sales of assets or investments.




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Exhibit 9.1.2 Sanofi Income Statement

                                            Sanofi Income Statement, 2012-2017, USD

For the Fiscal Period Ending          12 months            12 months           12 months          12 months          12 months       12 months
Currency: USD, millions               12/31/2012e          12/31/2013
                                                                      e
                                                                               12/31/2014
                                                                                          e
                                                                                                  12/31/2015
                                                                                                             e
                                                                                                                     12/31/2016
                                                                                                                                e
                                                                                                                                     12/31/2017

Revenue                                   46,076.9             45,377.7            40,496.3 d         36,991.6
                                                                                                                 d
                                                                                                                         35,702.5       42,092.9
                                                                                              d
Other Revenue                              1,331.7                488.9               790.4              869.9 d            936.3        1,379.7
 Total Revenue                            47,408.6             45,866.6            41,286.7           37,861.5           36,638.8       43,472.6

Cost Of Goods Sold                        14,602.1 a           15,125.0
                                                                          c
                                                                                   13,349.9           11,858.8           11,297.4       13,722.4
 Gross Profit                             32,806.5             30,741.6            27,936.8           26,002.7           25,341.4       29,750.2

Selling General & Admin Exp.
                                          12,036.4 abc         12,066.4 c          11,195.3           10,313.3           10,134.1       12,187.8
R & D Exp.                                 6,467.1 a            6,568.9             5,839.1            5,519.4            5,459.7        6,570.6
Amort. of Goodwill and Intangibles         4,339.1              4,012.9             3,004.3            2,320.9            1,786.1        2,240.6
Other Operating Expense/(Income)
                                           (545.9) a            (225.8)
                                                                          ac
                                                                                    (322.0)            (141.2)               19.0         (97.3)
 Other Operating Exp., Total              22,296.7             22,422.4            19,716.7           18,012.4           17,398.9       20,901.7

 Operating Income                         10,509.8              8,319.2             8,220.1            7,990.3            7,942.5        8,848.5

Interest Expense                            (549.8)             (504.0)             (437.0)            (359.5)            (289.2)        (332.6)
Interest and Invest. Income                   89.7                67 5                82.3               61.9               59.1           67.2
  Net Interest Exp.                         (460.1)             (436.5)             (354.7)            (297.6)            (230.1)        (265.4)

Income/(Loss) from Affiliates                518.2                 48.2              (61.7)             (23.9)              141.5          124.9
Currency Exchange Gains (Loss)              (76.5)               (81.3)             (121.0)            (367.1)            (284.0)        (121.3)
Other Non-Operating Inc. (Exp.)            (133.2)              (101.9)             (117.4)             (42.4)             (48.6)           73.2
 EBT Excl. Unusual Items                  10,358.2              7,747.7             7,565.3            7,259.3            7,521.3        8,659.9

Restructuring Charges                     (1,504.4)             (413.1)             (497.5)            (863.4)            (927.9)        (877.8)
Merger & Related Restruct. Charges           (30.3)              (11.0)                                                      (3.2)       (199.3)
Gain (Loss) On Sale Of Invest.                  9.2                57.8               100.5               50.0            (259.7)
Gain (Loss) On Sale of Assets                                     227.2                                      -               42.2          108.1
Asset Writedown                            (154.3)            (1,910.1)                31.5            (833.0)            (202.7)        (476.7)
Legal Settlements                          (296.7)                                                                          107.7
Other Unusual Items                        (253.1)                687.2             (324.4)               57.6            (142.5)        (449.1)
 EBT Incl. Unusual Items                   8,128.6              6,385.7             6,875.4            5,670.5            6,135.2        6,765.1

                                                      ac
Income Tax Expense                         1,460.9             1,050.7             1,417.4              770.0            1,399.8        2,067.7
 Earnings from Cont. Ops.                  6,667.7              5,335.0             5,458.0            4,900.5            4,735.4        4,697.4

Earnings of Discontinued Ops.                                                                          (134.7)             331.5        5,575.2
Extraord. Item & Account. Change
 Net Income to Company                     6,667.7              5,335.0             5,458.0            4,765.8            5,066.9       10,272.6

Minority Interest in Earnings               (222.8)             (217.6)             (144.0)            (109.7)             (96.1)        (145.3)

 Net Income                                6,444.9              5,117.4             5,314.0            4,656.1            4,970.8       10,127.3



 Notes:
 Amounts are referenced from the company's original Form 20-F for a given year, unless otherwise noted.
 a - Restated on March 7, 2014 due to the application of the revised IAS 19.
 b - Restated on March 7, 2014 in connection with interest cost on the net defined-benefit plan liability.
 c - Restated due to the application of IFRIC 21 on March 11, 2015.
 d - Restated on March 3, 2017 due to a change in accounting presentation where VaxServe sales of non-Sanofi products are
 included in Other Revenue from 2016 onwards.
 e - Amounts do not account for subsequent reclassifications made due to a merger, acquisition, or other sales of assets or
 investments.




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Exhibit 9.2 Mylan Income Statement

                                                 Mylan Income Statement, 2012-2017

For the Fiscal Period Ending                    12 months       12 months       12 months       12 months       12 months      12 months
Currency: USD, millions                         12/31/2012      12/31/2013a     12/31/2014
                                                                                           a
                                                                                                12/31/2015
                                                                                                           a
                                                                                                                12/31/2016
                                                                                                                           a
                                                                                                                               12/31/2017

Revenue                                               6,750.2        6,856.6         7,646.5         9,362.6        10,967.1      11,760.0
Other Revenue                                            45.9           52.5            73.1            66.7           109.8         147.7
 Total Revenue                                        6,796.1        6,909.1         7,719.6         9,429 3        11,076.9      11,907.7

Cost Of Goods Sold                                    3,780.5        3,801.5         4,050.2         5,047 1         6,064.1       6,931.5
 Gross Profit                                         3,015.6        3,107.6         3,669.4         4,382 2         5,012.8       4,976.2

Selling General & Admin Exp.                          1,287.8        1,301.0         1,558.8         1,905.0         2,241.4       2,428.5
R & D Exp.                                              388.9          456.2           563.9           651.6           697.8         657.2
Amort. of Goodwill and Intangibles
Other Operating Expense/(Income)
 Other Operating Exp., Total                          1,676.7        1,757.2         2,122.7         2,556.6         2,939.2       3,085.7

 Operating Income                                     1,338.9        1,350.4         1,546.7         1,825.6         2,073.6       1,890.5

Interest Expense                                      (308.7)        (314 2)         (333.2)         (339.4)         (454.8)       (534.6)
Interest and Invest. Income                                                                                            12.3           6.2
  Net Interest Exp.                                   (308.7)        (314.2)         (333.2)         (339.4)         (442.5)       (528.4)

Income/(Loss) from Affiliates                          (16.8)         (22.4)          (91.4)         (105.1)         (112.8)       (100.2)
Currency Exchange Gains (Loss)                           49.6           63.8            78.0            58.0            98.6          48.1
Other Non-Operating Inc. (Exp.)                        (30 1)         (16.7)          (24.1)             3.4             9.7          18.0
 EBT Excl. Unusual Items                              1,032.9        1,060.9         1,176.0         1,442 5         1,626.6       1,328.0

Restructuring Charges                                 (182 3)        (196.7)         (119.0)         (112.1)         (149.7)       (188.0)
Merger & Related Restruct. Charges                                    (37.0)          (68.6)         (325.9)         (413.0)         (1.9)
Gain (Loss) On Sale Of Invest.                                         (0.1)                                                          42.2
Gain (Loss) On Sale of Assets
Asset Writedown                                        (41.6)          (18.0)          (27.7)         (31.3)          (68.3)         (80.8)
Legal Settlements                                         3.1            14.6          (47.9)           97.4         (672.5)           13.1
Other Unusual Items                                     (8.0)          (76.4)            61.7        (155.2)         (201.4)        (209.6)
 EBT Incl. Unusual Items                               804.1           747.3           974.5           915.4           121.7          903.0

Income Tax Expense                                     161.1          120.8            41.4            67.7          (358.3)        207.0
 Earnings from Cont. Ops.                              643.0           626.5           933.1           847.7           480.0         696.0

Earnings of Discontinued Ops.
Extraord. Item & Account. Change
 Net Income to Company                                 643.0           626.5           933.1           847.7           480.0         696.0

Minority Interest in Earnings                           (2 1)           (2.8)           (3.7)           (0.1)

 Net Income                                            640.9           623.7           929.4           847.6           480.0         696.0
                                                                                                                                              Avg. 2013-2015
R&D Expenses as % of Total Revenues                    5.72%          6.60%           7.30%           6.91%           6.30%         5 52%         6.94%

 Notes:
 Amounts are referenced from the company's original Form 10-K for a given year, unless otherwise noted.
 a - Amounts do not account for subsequent reclassifications made due to a merger, acquisition, or other sales of assets or investments.




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